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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 NATHANIEL MCFARLAND, in his capacity as
 supervised and ancillary administrator of the ESTATE            ATTORNEY AFFIDAVIT IN
 OF DANIEL PRUDE,                                                SUPPORT OF MOTION TO
                                                                 APPROVE SETTLEMENT
                    Plaintiff,

                    v.                                           No. 6:20-cv-006675-FPG

 THE CITY OF ROCHESTER, MARK VAUGHN,
 TROY TALADAY, FRANCISCO SANTIAGO,
 MICHAEL MAGRI, ANDREW SPECKSGOOR,
 JOSIAH HARRIS, and other as-yet-unidentified
 Rochester police officers,

                     Defendants.


STATE OF ILLINOIS             )
                           ss:)
COUNTY OF COOK                )

       MATTHEW J. PIERS, being duly sworn, deposes and states:

       1.      I am an attorney duly licensed to practice law in the State of Illinois and maintain

offices for that purpose at 70 W. Madison St., Suite 4000, Chicago, IL 60602. I am a shareholder

of the firm Hughes Socol Piers Resnick & Dym, Ltd. I am admitted to practice in the United States

District Court for the Western District of New York.

       2.      I have at all times since September 5, 2020, represented Nathaniel McFarland, the

supervised and ancillary administrator of the Estate of Daniel Prude and the son of Daniel Prude.

       3.      I submit this affidavit in support of Plaintiff’s motion to approve the settlement of

this matter, along with attorneys’ fees and disbursements in accordance with the retainer

agreement.




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       4.      On September 16, 2020, the Cook County Probate Court in Illinois temporarily

appointed Nathaniel McFarland Independent Administrator to Collect. Ex. A. On November 12,

2020, the Cook County Probate Court in Illinois appointed Nathaniel McFarland Supervised

Administrator of Daniel Prude’s Estate. Ex. B. On December 3, 2020, the Monroe County

Surrogate’s Court appointed him Ancillary Administrator of the Estate of Daniel Prude and

revoked the Letters of Administration with Limitations previously issued to Tameshay Prude,

decedent’s sister. Ex. C. On January 5, 2021, this Court substituted Nathaniel McFarland for

Tameshay Prude as Plaintiff in the above-referenced matter. ECF No. 19.

       5.      On September 5, 2020, the Plaintiff Nathaniel McFarland retained the law firms of

Adam David Ingber, P.C., and Hughes Socol Piers Resnick & Dym, Ltd., to represent him in

connection with the prosecution of a lawsuit against certain officers of the City of Rochester Police

Department, the City of Rochester, and others, arising out of the death of his father Daniel Prude,

on March 30, 2020.

       6.      On September 17, 2020, after being appointed Independent Administrator to

Collect, Plaintiff Nathaniel McFarland signed a similar representation agreement, in his capacity

as Independent Administrator to Collect. This retainer identified as co-counsel Faraci Lange, LLP.

These three firms—Adam David Ingber, P.C.; Hughes Socol Piers Resnick & Dym, Ltd.; and

Faraci Lange, LLP—are referred to herein as Plaintiff’s Counsel. Nathaniel McFarland consented

in the retainer to the split of attorneys’ fees among Plaintiff’s Counsel.

       7.      On November 24, 2020, after being appointed Supervised Administrator of the

Estate of Daniel Prude, Plaintiff Nathaniel McFarland signed a similar representation agreement,

in his capacity as Supervised Administrator of the Estate, again consenting to the split of fees

among Plaintiff’s Counsel. This November 24, 2020 retainer is attached as Exhibit D.




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       8.      This Lawsuit was initially filed by Tameshay Prude in her capacity as administrator

of the Estate of Daniel Prude. See ECF No. 1. After the Monroe County Surrogate’s Court revoked

Ms. Prude’s letters of administration, this Court granted Nathaniel McFarland’s motion to

intervene and substituted him as Plaintiff in this case, see ECF No. 18.

       9.      After Plaintiff’s Counsel appeared in the case, they prepared and filed an amended

complaint. See ECF No. 24.

       10.     As set forth in the affidavit of Nathaniel McFarland, this is an action for the

wrongful death of decedent Daniel Prude, seeking damages for his pain, suffering, and terror prior

to his death, as well as pecuniary injuries to his five children (the “Lawsuit”). As alleged, in the

early morning hours of March 23, 2020, Daniel Prude was suffering from an acute mental health

crisis. His brother called 911 out of concern for Mr. Prude’s safety after he abruptly ran out of his

brother’s house without shoes and without a coat in freezing cold temperatures. The defendant

Rochester Police Officers who located Mr. Prude were responding to that 911 call. When the

officers located Mr. Prude, he was completely naked in the middle of the street and clearly both

disoriented and unarmed. The officers ordered him to lay down onto the freezing cold pavement,

cuffed him behind his back, slipped a spit hood over his head from behind while he remained

naked on the freezing pavement. Then three of the defendant Rochester Police Officers forced Mr.

Prude to the ground and pinned his head and chest forcefully down onto the street for several

minutes, thereby suffocating him as he struggled to breath. Mr. Prude lost and never regained

consciousness. He was pronounced dead seven days later, on March 30, 2020.

       11.     This Lawsuit asserts claims under 42 U.S.C. § 1983 for excessive force, failure to

intervene, and deliberate indifference to Mr. Prude’s serious medical needs; claims under the

Americans with Disabilities Act and Section 504 of the Rehabilitation Act; and state law claims




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        Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 4 of 39




for intentional infliction of emotional distress/outrageous conduct causing emotional distress,

common law battery, common law negligence, gross negligence, and wrongful death. See ECF

No. 41 (Second Amended Complaint).

       12.     The Lawsuit seeks damages for loss of life, conscious pain and suffering, wrongful

death, and punitive damages. It also seeks recovery of Plaintiff’s attorneys’ fees and costs.

       13.     Defendants deny all liability.

       14.     In early 2021, Plaintiff’s Counsel engaged in an initial round of settlement

discussion with Defendants, but no settlement was reached.

       15.     With the Court’s permission, the parties participated in a phase of discovery

intended to facilitate future mediation efforts. Plaintiff’s Counsel served extensive written

discovery requests on Defendants and served record subpoenas on the New York Attorney

General’s Office, the Monroe County Medical Examiner’s Office, and American Medical

Response. Plaintiff’s Counsel undertook multiple rounds of meet-and-confer conferences to obtain

compliance on these discovery requests. Plaintiff’s Counsel also undertook investigation outside

of formal discovery channels by issuing Freedom of Information Law (“FOIL”) requests and

obtaining Daniel Prude’s medical records. Plaintiff’s Counsel also responded to written discovery

served by Defendants. The parties exchanged approximately 20,000 pages of documents and

hours-worth of body worn camera video recordings.

       16.     During this phase, Plaintiff’s Counsel also engaged several experts as consultants,

including one ER doctor, two forensic pathologists, and a police practices expert. These experts

reviewed key case materials, educated Plaintiff’s Counsel on medical and technical matters

crucially important to this case, and advised Plaintiff’s Counsel on deposition preparation.




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       17.     Plaintiff’s Counsel deposed all six defendant Rochester Police Officers and one

non-party witness, Dr. Nadia Grainger. Dr. Grainger is the Monroe County Medical Examiner who

conducted the autopsy of Daniel Prude and gave an expert opinion on Mr. Prude’s cause of death.

These depositions required extensive preparation and were crucially important to successful

mediation.

       18.     In light of the complexity of this matter and its significance to the community, and

with agreement of the parties, in early 2022, this Court appointed two federal judges to serve as

mediators in this action, Hon. LaShann DeArcy Hall of the United States District Court for the

Eastern District of New York, and Hon. Magistrate Judge Jonathan Feldman of the United States

District Court for the Western District of New York.

       19.     During the mediation phase of this case, Plaintiff’s Counsel prepared detailed

written mediation statements and created a composite video of the police interaction with Daniel

Prude that led to his death. Plaintiff’s Counsel made a detailed mediation presentation to the

mediators and defense counsel on April 4, 2022, which included the composite video, as well as

important documents obtained through discovery and video excerpts from the depositions of the

defendant officers and the medical examiner. Plaintiff’s Counsel also spent many hours in

communication with Mr. McFarland, co-counsel, and the mediators.

       20.     After extensive arm’s length, mediated negotiations, lasting over several months,

including over a half-dozen mediation sessions between Plaintiff’s Counsel and the mediators or

among Plaintiff’s Counsel, the mediators, and defense counsel, the parties have reached a

settlement in principle.

       21.     The terms of the settlement in principle include the following:




                                                5
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             •   The Lawsuit is settled for a payment by Defendant City of Rochester to the Plaintiff
                 in the total amount of twelve million dollars ($12,000,000) (the “Settlement
                 Amount”).

             •   The Lawsuit will be dismissed with prejudice, waiver of any right to appeal, and a
                 general release of the Defendants (and their agents, successors and employees) by
                 the Plaintiff Administrator.

             •   There will be no admission of liability.

             •   Fifty percent (50%) of the Settlement Amount (six million dollars ($6,000,000)) is
                 to be paid as compensation for damages for conscious pain and suffering (“Survival
                 Claims”), and the remaining fifty percent (50%) of the Settlement Amount (six
                 million dollars ($6,000,000)) is to be paid as compensation for damages for
                 pecuniary injuries to five children, the heirs, resulting from the decedent’s death
                 (“Wrongful Death Claims”). No portion of the Settlement Amount is to be paid for
                 punitive damages.

             •   Thirty-three percent of the total Settlement Amount (33 percent of the Survival
                 Claims damages ($1,980,000) and 33 percent of the Wrongful Death Claims
                 damages ($1,980,000)) will be paid as attorneys’ fees to Plaintiff’s Counsel, for a
                 total of three million nine-hundred and sixty thousand dollars ($3,960,000) in
                 attorneys’ fees.

             •   One-hundred and sixteen thousand eight-hundred and eight dollars and 92 cents
                 (($116,808.92) of the Settlement Amount ($58,404.46 of the Survival Claims
                 damages and $58,404.46 of the Wrongful Death Claims damages) are to be paid to
                 Plaintiff’s Counsel for disbursements, to reimburse Plaintiff’s Counsel for costs
                 incurred in advancing the claims in the above-referenced action.

       22.       Plaintiff’s Counsel, including affiant, have extensive experience in wrongful death

and police misconduct matters. Through the efforts described above, Plaintiff’s Counsel have

gained a deep understanding of the factual record in this matter, the strengths and weaknesses of

Plaintiff’s claims, and the value of comparable jury verdicts and settlements. In affiant’s opinion,

the amount offered in this settlement is the maximum amount that Defendants were willing to offer

to voluntarily resolve this case. As a result of the combined experience of Plaintiff’s Counsel,

including experience in the Western District of New York, as well as verdict research conducted

and the advice of the mediators, it is our opinion that a verdict of less than the amount of the



                                                   6
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settlement is at least equally as likely as a verdict in excess of the settlement amount, and there is

also a possibility if this case were tried that a jury could return a verdict for Defendants. In affiant’s

opinion, the proposed settlement is fair and reasonable, and it is in the best interest of the Estate

and the distributees to accept the proposed settlement amount of twelve million dollars

($12,000,000) and avoid the cost and risk of further legal proceedings and trial.

        23.     Under the terms of the retainer agreement, Ex. D, Plaintiff’s Counsel are entitled to

attorneys’ fees in the amount of 33% of the recovery, and in addition, are entitled to be reimbursed

for disbursements incurred in advancing the claims in the above-referenced action.

        24.     In addition to thousands of hours of attorney time, Plaintiff’s Counsel has made

disbursements totaling one-hundred and sixteen thousand eight-hundred and eight dollars and 92

cents ($116,808.92), including for retention of experts and retention of experienced probate

counsel to represent the Plaintiff in the Monroe County, New York Surrogate’s Court as well as

the Circuit Court of Cook County, Illinois, Probate Division in order to protect the integrity of the

decedent’s estate and the ability to properly prosecute this case on behalf of the Estate and its

lawful heirs. Annexed hereto as Exhibit E are itemized lists of disbursements.

        25.     As described above, Plaintiff’s Counsel invested considerable time and resources

toward achieving a favorable outcome in this Lawsuit. See ¶¶ 9, 14-22, 25, supra. Affiant therefore

respectfully requests that this Court allow Plaintiff’s Counsel their disbursements in the sum of

one-hundred and sixteen thousand eight-hundred and eight dollars and 92 cents ($116,808.92) and

a fee of three million nine-hundred and sixty thousand dollars ($3,960,000) as their legal fee, for

a total fee and disbursements in the sum of four million seventy-six thousand eight-hundred and

eight dollars and 92 cents ($4,076,808.92).




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        26.     Plaintiff further requests that the Court direct the establishment of two Qualified

Settlement Funds (“QSF”) within the meaning of United States Treasury Regulation § 1.468B-1,

26 C.F.R. § 1.468B-1—one to receive the Survival Claims damages net of attorneys’ fees and case

disbursements and the other to receive the Wrongful Death Claims damages net of attorneys’ fees

and case disbursements. The purpose of a QSF is to allow the Cook County Probate Court to, in

its discretion, order that the distributees receive their distributions from the net settlement proceeds

in the form of structured future payments (a structured settlement) preserving the tax benefits of

such a distribution. A QSF provides a vehicle where the distributees and their attorneys avoid any

constructive receipt of a lump sum settlement which would void the tax advantages offered by a

structured settlement where the interest earned on the principal is not subject to income

taxation. The Probate Court may well decide that lump sum distributions to the distributees are

appropriate, but a QSF allows the court the discretion to order structured future payments

preserving the tax advantages offered by a structured settlement.

        27.     The Cook County Probate Court in Illinois authorized Plaintiff Nathaniel

McFarland, as Supervised Administrator of the Estate of Daniel Prude, to enter into a settlement,

including attorneys’ fees and disbursements, without further approval of the Probate Court, subject

to this Court’s approval of the settlement. A copy of that Order is attached as Exhibit F.

        28.     No previous application has been made for the relief or order sought herein.

        29.     Affiant is not aware of other claims or settlements, aside from those in this action,

arising out of the same occurrence.

        WHEREFORE, your affiant prays the Court to enter the Proposed Order Approving

Settlement attached hereto as Exhibit G.




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Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 10 of 39




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 Case No, _                   2020-P-4823                        Calendar                                    08                     :
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      _ ORDER APPOINT ING REPRESENTATIVE OF DECEDEN T ’S Tara E- INTESTATE
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     On the PETITION of                                                         M
                                                                      NATHANIEL MCFA RLAND                                         __                                 Sea———

                                                                  d of the Petitioner]
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ss.

for issuance of Letters of Administration, the Court having been advised that the proposed representative is qualified to
aul as administrator under §9-1 of the Probate Act of 1975 [755 ILCS 5/9-1];

    IT" IS ORDERED THAT:
 A. Letters of Administration issue to____                                  NATHANIEL McFARLAND                                                                                  as
                                                                           [printed name of the proposed representative]
     Oa    Supervised Administrator                         4232           1B] Independent Administrator                                                           4230
           Supervised Administrator to Collect ~~ 4249                           Independent Administrator to Collect ~~ 4248
                                                            4237           |     Independent Administrator de bonis non                                        4238
           Supervised Administrator de bonis non
        Supervised Co-Administrators                        a2             [1 Independent Co-Administrators                                                    4231
BE. The representative present to the Court:
     {11. an INVENTORY as required by §14-1 of the Probate Act of 1975 [755 ILCS 5/14-1] by, or shall appear
             before the Court on,               oY                             me    eA                       le              at                       M;                 [0 sis
                                              {noi more then 60 days after the date of this Order]

     (02. an ACCOUNT as required by §24-1 of the Probate Act of 1975 [755 ILCS 5/24-1] by, ox shall appear
             before the Court on, ___.                                                          1                      SRL                             M.;                 0 s207
                                            {not more than 14 months after the date of this Order]

     13.     a FINAL REPORT as required by §28-11 of the Probate Act of 1975 [755 ILCS 5/28-11} by, or shall appear
             before the Court to present a written status reporton, at                                                                                         M           0 297
                                                                                [not more than 14 months after the date of this Order}

C.   If the representative is a nonresident, no assets shall leave the State of Mlinois without court order, and the
     representative's attorney shall act as the representative's resident NEand yi sepyice of progess, notice or
     demand required or permitted by law.                    {aR               +      Col ds-A                                           ' # \~~                           0 a262
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attorney Number 56304                                                           ENTERED:
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                                                                                              Date of Death: 3             o-JAS
       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS COUNTY DEPARTMENT - PROBATE DIVISION

Case No. __                   2020-P-4823
                               2020-P-4823                                               Calendar 0s 08

Estate of                                     .        DANIEL PRUDE
                                                                                                                         Deceased

            ORDER APPOINTING REPRESENTATIVE OF DECEDENT’S ESTATE - INTESTATE

       On the PETITION of                          B                                    Nathaniel McFarland
                                                                   {printed name of the Petitioner]



for issuance of Letters of Administration, the Court having been advised that the proposed representative is qualified to
act as administrator under §9-1 of the Probate Act of 1975 [755 ILCS 5/9-1];
       IT iS ORDERED THAT:
A.     Letters of Administration issue to                                               NATHANIEL                 McFARLAND                                                                        as
                                                                                    {printed name of the proposed representative]
             Supervised   Administrator                               4232              [ Independent             Administrator                                      4230
       ]     Supervised   Administrator to Collect                    4249              | Indépendent             Administrator to Collect                           4248
             Supervised   Administrator de bonis non                  4237              Od Independent            Administrator de bonis non                         4236
       0     Supervised   Co-Administrators                           4227              OI Independent            Co-Administrators                                  4231
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B.     The representative present to the Court:
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     a        an ACCOUNT          as required by §24-1 of the Probate Act of 1975 [755 ILCS 5/24-1] by, or shall appear
              before the Court on,                                       01/12/2022                           -            N    at. 10:00 A.                   M.;,                          Hi 4297
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C.     If the representative is a nonresident, no assets shall leave the                              State       of Illinois   without      court order, and the
       representative’s attorney shall act as the representative’s resident                           agent       and accept    stservice   of process, notice or.
       demand required or permitted by law.                                                                                                                0 4262
D.                                      to Collect shall be Terminated after Letters of Supervised Administration are Issued.
     Letters of Office as Administrator PA

Attorney Number           56304                                   —                        ENTERED:
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Name
             James G. Riley                                                                                             /) i
Firm       Name  FMS Law Group LLC

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                      Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 15 of 39

LETTERS
LETTERS OF
        OF OFFICE-DECEDENT’S
           OFFICE-DECEDENT’S ESTATE                                                                           (Rev. 12/23/03) CCP 0415

                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                        COUNTY DEPARTMENT, PROBATE DIVISION


Estate of                                                                             Ne.    2020 P 004823
 DANIEL          PRUDE                                                                Docket

                                                                Deceased              Page




                                      LETTERS OFOFFICE                - DECEDENT’SESTATE


NATHANIEL
NATHANIEL McFARLAND
          McFARLAND                                                                                                  has been appointed

Supervised                               Administrator                                                                 of the estate of
DANIEL          PRUDE
                                                                                                                           , deceased,

who died        FFriday,
                   riday, March      20, 2020                          , and is authorized to to take possession of and collect the

estate of the decedent and te do all acts required by law.




           LS                                                        WITNESS,
                                                                     WITNESS,        Novermber
                                                                                     Novembe 12,
                                                                                             12, 2020
                                                                                                 2020
                                                                                             Dorothy Brown
                                                                                      Clerk of the Circuit Court




                                                          CERTIFICATE

                 I certify that this is a copy of the letters of office now in force in this estate.




           =
           TG
                                                                     WITNESS,
                                                                                )
                                                                                    November 12, 2020



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                                                                                               Clerk olCoiz
                                                                                               Clerk   of/Court




   DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                             ILLINOIS
Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 16 of 39




                EXHIBIT
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               Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 17 of 39




                                                                               At aa Surrogate's
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                                                                                                             the State
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  Present: Hon.
  Present:   Hon. John
                  John M.
                       M. Owens,
                          Owens, Surrogate
                                  Surrogate
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  Ancillary Administration
  Ancillary  Administration Proceeding,
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         A verified
         A verified Petition
                    Petition having
                             having been
                                    been filed
                                         filed by
                                               by Nathaniel
                                                  Nathaniel McFarland
                                                            McFarland praying
                                                                        praying that
                                                                                 that Tameshay
                                                                                      Tameshay Prude
                                                                                                Prude
  be removed
  be removed asas Administrator
                  Administrator pursuant
                                 pursuant to
                                          to SCPA §711, and for Ancillary Letters of Administration
                                              SCPA §711,  and for Ancillary Letters of Administration
  of the
  of the Estate
         Estate of
                of Daniel
                   Daniel Prude,
                          Prude, deceased,
                                 deceased, for
                                           for which
                                               which Letters
                                                     Letters of
                                                             of Administration
                                                                Administration have
                                                                               have been
                                                                                    been issued
                                                                                         issued by
                                                                                                by
  the State
  the State of
             of Illinois,
                 Illinois, said
                            said state
                                 state being
                                        being the
                                                the domicile
                                                    domicile of
                                                              of decedent
                                                                 decedent at
                                                                           at his
                                                                              his date
                                                                                  date of
                                                                                        of death
                                                                                           death and
                                                                                                  and said
                                                                                                      said Petition
                                                                                                            Petition
  having set
  having  set forth
               forth facts
                       facts upon
                              upon which
                                     which the
                                             the jurisdiction
                                                  jurisdiction has
                                                               has been
                                                                    been obtained
                                                                         obtained over
                                                                                    over all
                                                                                          all persons
                                                                                              persons entitled
                                                                                                      entitled to
                                                                                                                to
  process in
  process  in this
               this proceeding,
                     proceeding, and and that
                                          that said
                                                said decedent
                                                      decedent at
                                                                at death
                                                                   death was
                                                                         was possessed
                                                                              possessed of of property
                                                                                              property in
                                                                                                        in this
                                                                                                           this state;
                                                                                                                state;
  now it
  now itisis

         ORDERED AND
         ORDERED   AND DECREED
                        DECREED that
                                   that the
                                        the Letters
                                             Letters of
                                                     of Administration
                                                        Administration with  Limitations previously
                                                                        with Limitations   previously
  issued to
  issued to Tameshay
            Tameshay Prude
                     Prude by
                           by this
                              this Court
                                    Court on
                                           on August
                                               August 24,2020
                                                       24, 2020 be
                                                                be revoked;
                                                                   revoked; and
                                                                             and it is further
                                                                                 it is further

           ORDERED AND
           ORDERED AND DECREED
                       DECREED that
                               that Ancillary
                                    Ancillary Letters
                                              Letters of
                                                      of Administration
                                                         Administration issue
                                                                        issue to
                                                                              to Nathaniel
                                                                                 Nathaniel
  McFarland upon
  McFarland upon proper
                 proper qualification
                        qualification and
                                      and the
                                          the filing
                                              filing of
                                                     of a
                                                        a bond
                                                          bond be
                                                               be and
                                                                  and hereby
                                                                      hereby is
                                                                             is dispensed
                                                                                dispensed with; and
                                                                                          with; and
  itisis further
  it     further

           ORDERED AND
           ORDERED AND DECREED
                       DECREED that
                               that the
                                    the authority
                                        authority of
                                                  of such
                                                     such administrator
                                                          administrator be
                                                                        be restricted
                                                                           restricted in
                                                                                      in
  accordance with,
  accordance       and that
             with, and that the
                            the letters
                                letters herein
                                        herein issued
                                               issued contain,
                                                      contain, the
                                                               the limitation
                                                                   limitation as
                                                                              as follows:
                                                                                 follows:

           Limitations /Restrictions: Pursuant
          Limitations/Restrictions:      Pursuant to  to EPTL
                                                         EPTL 5-4.6,
                                                               5-4.6, the
                                                                      the personal
                                                                           personal representative
                                                                                      representative ofof the
                                                                                                          the estate
                                                                                                               estate
  shall petition
  shall petition the
                   the Surrogate's
                        Surrogate’s Court
                                     Court for
                                            for allocation
                                                 allocation and
                                                             and distribution
                                                                  distribution of
                                                                                of any
                                                                                   any recovery
                                                                                        recovery inin wrongful
                                                                                                      wrongful
  death. The
  death.   The attorney
                attorney ofof record
                               record and
                                      and the
                                           the personal
                                                personal representative
                                                           representative for
                                                                            for the
                                                                                the estate
                                                                                     estate shall
                                                                                            shall finally
                                                                                                  finally settle
                                                                                                          settle the
                                                                                                                  the
+ estate
  estate within
          within 6060 days
                       days of
                             of the
                                the date
                                    date of
                                         of the
                                            the Surrogate's
                                                 Surrogate’s decree
                                                               decree compromising the wrongful death
                                                                       compromising      the wrongful   death
  action; and
  action;       it is
           and it     further
                   is further

         ORDERED AND
         ORDERED    AND DECREED
                         DECREED that
                                   that the
                                        the Temporary
                                            Temporary Ancillary
                                                        Ancillary Letters
                                                                  Letters of
                                                                          of Administration
                                                                             Administration
  previously issued
  previously issued to
                    to Nathaniel
                       Nathaniel McFarland
                                 McFarland be
                                            be revoked.
                                               revoked.
                                                                                                       Al 1NHD SOHNOW




  Dated:
  Dated:   _ D&vemler         43
                              /■ if" 2020
                                     2020



                                                                          John/M.uwens
                                                                          Suriueate
                                                                          wn




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                                                                           5
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                EXHIBIT
                EXHIBIT
                   D
                   D
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                       REPRESENTATION           AGREEMENT         BETWEEN
                                 ADAM     DAVID    INGBER,     P.C.,
                      HUGHES SOCOL         PIERS RESNICK & DYM, LTD.
                                                 and
                            THE ESTATE OF DANIEL PRUDE
        This Agreement is made on November 4, 2020 between the Estate of Daniel Prude

(“Client” or “the Estate™) through Nathaniel McFarland in his capacity as Supervised

Administrator of the Estate and the law firms of Adam David Ingber, P.C., 150 N. Michigan

Ave, Suite 2800, Chicago, Illinois 60601 (“Ingber™), and Hughes Socol Piers Resnick & Dym,

Ltd., Three First National Plaza, Suite 4000, Chicago, Illinois 60602 (*“HSPRD™).     Ingber and

HSPRD are collectively referred to in this Agreement as “the Firms.” This Agreement

supersedes and replaces any earlier oral or written understandings among the undersigned.

              SECTION     1. STATEMENT AND SUBJECT OF EMPLOYMENT

        Client hereby retains and employs the Firms to represent Client in the prosecution of a

lawsuit against certain officers of the Rochester, N.Y. Police Department, the City of Rochester,

N.Y. and others (“Respondents”), arising out of the death of Daniel Prude on or about March 30,

2020. The Firms do not agree to bring any claims on behalf of Client other than the ones

described in this paragraph.

   SECTION 2. NO PAYMENT EXCEPT OUT OF RECOVERY FROM                             DEFENDANT

        Client will not be charged any attorneys’ fees, costs, or expenses associated with

preparing and presenting Client’s claims, except as provided herein. No payment shall be due

from Client for fees, costs, or expenses, unless recovery for those amounts is received from one

or more Defendants.

                               SECTION 3. ATTORNEYS'           FEES

       A.      In the event any lawsuit on Client’s behalf related to the matters described in

Section 1 results in a successful settlement or judgment, the Firms and their co-counsel, the law
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firm of Faraci Lange,    LLP (“Faraci”), shall be entitled to receive reasonable attorneys’ fees,

determined by the greater of:

         (1)    The applicable hourly rates charged at the time of settlement or judgment by the

                Firms and Faraci for attorneys   and paralegals and other staff working on civil

                rights and other complex litigation matters for all hours worked: or

         (2)    Thirty-three percent (33%) of any recovery obtained for the Client prior to the

                beginning of trial, forty percent (40%) of any recovery obtained for Client if the

                matter proceeds to trial, as a result of a settlement or judgment, including

                Judgment as a matter of law or a verdict entered by a judge or jury, inclusive of all

                attorneys’ fees and costs awarded to Client. These percentages shall be applied to

                the total amount of recovery for Client including any award of attorneys’ fees.

         B.     Client understands that Client may have legal claims against one or more

Respondents for attorneys’ fees, costs and expenses, pursuant to the Civil Rights Attorneys Fees

Award Act and other federal, state or local fee shifting statutes, to require Defendants to pay

Client’s reasonable attorneys’ fees, out-of-pocket costs, and expenses. Client hereby irrevocably

assigns to the Firms his claims for payment of fees, costs and expenses.

         C.     Client has been informed that any attorneys’ fees received pursuant to this

Agreement shall be divided as follows: one-third (1/3) to HSPRD, one-third (1/3) to Ingber, and

one-third (1/3) to Faraci. Client has been shown the co-counsel agreement with Faraci and agrees

to its terms.

                        SECTION 4. COSTS AND OTHER EXPENSES

         Costs, disbursements, and reasonable personal and travel expenses incurred by the Firms

and Faraci in advancing Client's claims are to be advanced by the Firms and Faraci as necessary
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and in the Firms’ and Faraci’s discretion. Any outstanding cost advances will be deducted from

any recovery from or on behalfof the Respondent(s). Costs and expenses shall be reimbursed in

addition to the payment of attorneys’ fees. Client is only required to reimburse the Firms and

Faraci for their costs and expenses from money recovered from a settlement or judgment.

                           SECTION 5. EMPLOYMENT OF EXPERTS,
                            CONSULTANTS AND INVESTIGATORS

           The Firms in their discretion may employ experts or consultants to further the

prosecution of the Client's claim, and other experts to examine and report to the Firms.    The

Firms may also in their discretion employ investigators to investigate the facts surrounding the

subject matter of the claim. Fees charged by such expert witnesses, consultants and investigators

may be advanced by the Firms and Faraci and, at the Firm’s discretion, charged against any

recovery on the claim as advanced costs and expenses in lieu of reimbursement as provided for

in Section 4.

                                 SECTION 6. ATTORNEY’S           LIEN

           Each of the Firms is hereby given a lien on any sum recovered by way of settlement of,

and on any judgment award that may be recovered in the claim or lawsuit described in Section 1.

The lien shall be for the sum and share mentioned above as reasonable attorneys’ fees plus any

outstanding costs, disbursements or expenses. Each of the Firms shall have all general,

possessory, or retaining liens, and all special or charging liens known to the common law and

statute.

  SECTION 7. RETENTION OF ATTORNEYS’ FEES AND ADVANCED                              COSTS AND
                 EXPENSES FROM SETTLEMENT PROCEEDS

           HSPRD may receive the settlement or judgment amount and may retain therefrom the

Firms’ attorneys” fees pursuant to Section 3 before disbursing the remainder of the settlement or
                                                  (95
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judgment     amount   to the Client.   HSPRD   may   also deduct therefrom the amount   of outstanding

costs, disbursements and expenses advanced as provided in
                                                          Sections 4 and 5.

                SECTION      8. SUBSTITUTION          OR   DISCHARGE      OF   ATTORNEY

           A Client always has the right to discharge an attorney at any time and for any or no

reason. In the event that the Client discharges HSPRD         or Ingber, or obtains a substitute attorney

before any settlement of or judgment on the claim for which HSPRD and Ingber have been

retained, the Firms shall be entitled to receive, from any settlement or judgment, the full amount

of attorneys’ fees as provided for in Section 3 as well as any costs and expenses advanced

pursuant to Section 4 and 5. In no event shall such attorneys’ fees, costs, disbursements, and

expenses exceed the value of any settlement or judgment obtained by Client or a class (certified

by the court) to which the Client belongs. In lieu of the attorneys’      fees as provided in Section 3,

Client may pay HSPRD, Ingber, and Faraci at the time of discharge, their respective attorneys’

fees calculated at each of the Firm's then standard hourly fee rates for civil rights and other

complex litigation for all time spent on Client's claims.

                            SECTION 9. WITHDRAWAL               OF ATTORNEY

           HSPRD and or Ingber may withdraw from the representation of Client at any time, on

reasonable notice to Client, so long as the withdrawal is permitted under Rule 1.16 of the Illinois

Rules of Professional Conduct. In the event of such withdrawal of representation, the

withdrawing Firm shall be entitled to attorneys’ fees determined by the applicable hourly rates

for attorneys and paralegals for hours worked, as well as costs, disbursements and expenses. In

no event shall such attorneys’ fees, costs, disbursements, and expenses exceed the value of any

settlement or judgment obtained by Client or a class (certified by the court) to which the Client

belongs.
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                         SECTION      10. NONWAIVER        OBLIGATIONS
        Client agrees that Client will not. without written consent
                                                                    from the Firms, accept any

settlement offer that would result in the Firms receiving a lower attorneys’ fee than would
                                                                                            be
required by this agreement.   Furthermore, Client will not, without such written consent, accept

any settlement offer conditioned on Client waiving in whole or in part any statutory
                                                                                     claim to be
awarded attorneys’ fees and/or costs. Client understands that without this agreement on their
                                                                                              part,
the Firms would not undertake the substantial risk of representing Client on a contingen
                                                                                        t or fee
shifting basis.

           SECTION     11. POWER OF ATTORNEY TO EXECUTE                     DOCUMENTS
        Client hereby gives each of the Firms Client's power of attorney to execute all documents

in connection with the claim for the prosecution of which the Firms are retained,
                                                                                  including
pleadings, contracts, settlement agreements, compromises and releases, verifications, dismissal,

orders, and all other documents that Client could properly execute.

                           SECTION      12. SHARING      INFORMATION

        The Client understands and agrees that the Firms may hire, retain, or consult with other

lawyers, experts, investigators, and others who may assist in the representation of the Client.    The

Client authorizes the Firms to consult with such persons and to divulge to such persons such

privileged information as may     assist the Attorneys in representing the Client. The Client also

understands and agrees that the Firms may share and publicize otherwise publically available

information and publically available documents about the representation of the Client for reasons

unrelated to the representation of the Client. This information includes, but is not limited to, copies

of the complaint, answer, any order or decision issued, the general progress and ultimate result of

the case, or any news reports or articles about the representation.
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                           SECTION 13. CONTRACT               DOCUMENT

        This Agreement comprises the entire contract between the Firms and Client

                   SECTION       15. EXECUTION OF DUPLICATE COPIES

        The parties to this Agreement may execute it by signing duplicate copies, and the efteet

shall be the same as if all three signed the same original.

            SECTION 16. LAW TO GOVERN CONTRACT AND ARBITRATION

        The laws of the State of Illinois shall govern the construction and interpretation of this

Agreement. In the event of any dispute between Client and either or both Firms with respect to

interpretation, application or enforcement of any provision of this Agreement, Client and the

Firms shall first attempt in good faith to resolve the matter through negotiations among

themselves, and then by mediation.     If the matter is not resolved through negotiation or

mediation, it shall be referred to binding arbitration before a single arbitrator, who shall be

selected pursuant to the rules of the Judicial Arbitration and Mediation Services (“JAMS”).

        IN WITNESS      WHEREOF, HSPRD, Ingber and Client have executed this Agreement in

Illinois, on the day and year first above written.

By:



       Ad        B                                      ston] Lytwctd?,
                                                                 g     1



Mark Dym, HUGHES        SOCOL PIERS                    Nathaniel McFarland, Estate of Daniel Prude
RESNICK & DYM, LTD.                                    Supervised Administrator


      Mest
Adam Ingber, Adam David Ingber, P.C.
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                EXHIBIT
                EXHIBIT
                   E
                   E
9/16/2022 11:37:39
9/16/2022 11:37:39 AM
                   AM     Case 6:20-cv-06675-FPG Document
                                                    Pre-Billing 62-1
                                                    Pre-Billing  Report Filed 10/06/22 Page 26 of 39
                                                                Report                                                                          Page 1
                                                                                                                                                Page   1
                                                                                                                                              Pbs3.rtm
                                                                                                                                              Pbs3.rtm

         23431
         23431       NATHANIEL MCFARLAND
                     NATHANIEL MCFARLAND                                                          Billing Date:
                                                                                                  Billing Date:          09/16/2022
                                                                                                                         09/16/2022
                     MCFARLAND
         NATHANIEL MCFARLAND
         NATHANIEL                                                                                Fees          Date:
                                                                                                         Thru Date:
                                                                                                  Fees Thru              08/31/2022
                                                                                                                         08/31/2022
         321 NORTH
         321 NORTH SUMMIT
                    SUMMIT                                                                        Costs Thru
                                                                                                  Costs   Thru Date:
                                                                                                                 Date:   09/16/2022
                                                                                                                         09/16/2022
         VILLA PARK,
         VILLA PARK, IL
                      IL 60181
                         60181

         206825
         206825      ESTATE OF
                     ESTATE OF DANIEL
                               DANIEL PRUDE
                                      PRUDE V.
                                            V. CITY
                                               CITY OF
                                                    OF ROCHSTER
                                                       ROCHSTER


                                                                       Cash
                                                                       Cash                     Expense
                                                                                                Expense
  Date
  Date       Expenses
             Expenses                                                   Adv Ref##
                                                                        Adv Ref     Event
                                                                                    Event     Code
                                                                                              Code   Vendor
                                                                                                     Vendor                   Units
                                                                                                                              Units   Amount Bill
                                                                                                                                      Amount Bill Amt
                                                                                                                                                  Amt


  09/07/20 Electronic
  09/07/20 Electronic Filing
                      Filing Fee
                             Fee                                          A1152020
                                                                          A        1904049
                                                                          11152020 1904049      AVREFILE
                                                                                                AVRE      &
                                                                                                     FILE &                       0
                                                                                                                                  0    495.93 _____
                                                                                                                                       495.93
                                                                                                     SERVEXPRESS
                                                                                                     SERVEXPRESS
  09/09/20 Electronic
  09/09/20 Electronic Filing
                      Filing Fee
                             Fee                                          A1152020
                                                                          A        1904050
                                                                          11152020 1904050      AVREFILE
                                                                                                AVRE      &
                                                                                                     FILE &                       0
                                                                                                                                  0      3.08 _____
                                                                                                     SERVEXPRESS
                                                                                                     SERVEXPRESS
  09/14/20 Travel
  09/14/20 Travel expenses
                   expenses twice
                             twice to
                                   to Villa
                                      Villa Park
                                            Park to
                                                 to execute
                                                    execute               A 215194
                                                                          A 215194 18W0207
                                                                                   18W0207 AVREMARK
                                                                                           AVRE      DYM
                                                                                                MARK DYM                          0
                                                                                                                                  0     30.00 _____
           petitions and
           petitions and probate
                         probate documents
                                  documents
  09/15/20 Travel
  09/15/20 Travel to
                  to Loop
                     Loop and
                          and then
                              then Villa
                                   Villa Park
                                         Park to
                                              to execute
                                                 execute bond
                                                         bond             A 215194
                                                                          A 215194 18W0206
                                                                                   18W0206 AVREMARK
                                                                                           AVRE      DYM
                                                                                                MARK DYM                          0
                                                                                                                                  0     20.00 _____
  09/16/20 Travel
  09/16/20 Travel to
                  to Loop
                     Loop to
                          to pick
                             pick up
                                  up certified
                                     certified orders
                                               orders                     A 215194
                                                                          A 215194 18W0204
                                                                                   18W0204 AVREMARK
                                                                                           AVRE      DYM
                                                                                                MARK DYM                          0
                                                                                                                                  0     15.00 _____
  09/16/20 Travel
  09/16/20 Travel to
                  to Villa
                     Villa Park
                           Park for
                                for additional
                                    additional documents
                                               documents                  A 215194
                                                                          A 215194 18W0205
                                                                                   18W0205 AVREMARK
                                                                                           AVRE      DYM
                                                                                                MARK DYM                          0
                                                                                                                                  0     20.00 _____
  09/16/20 Travel
  09/16/20 Travel to
                  to Villa
                     Villa Park
                           Park from
                                from Berwyn
                                      Berwyn to
                                             to notarize
                                                notarize on
                                                         on               A 215311
                                                                          A 215311 18X3511
                                                                                   18X3511      AVREMARK
                                                                                                AVRE      WEINER
                                                                                                     MARK WEINER                  0
                                                                                                                                  0     48.30 _____
           9/14/20 (twice)
           9/14/20  (twice) and
                            and on
                                 on 9/16/20
                                    9/16/20
  09/17/20 Travel
  09/17/20 Travel expenses
                  expenses for
                           for additional
                               additional signatures
                                          signatures                      A 215194
                                                                          A 215194 18W0203
                                                                                   18W0203 AVREMARK
                                                                                           AVRE      DYM
                                                                                                MARK DYM                          0
                                                                                                                                  0     20.00 _____
  09/23/20 Fee
  09/23/20 Fee for
               for bond
                   bond in
                        in the
                           the estate
                               estate of
                                      of Daniel
                                         Daniel Prude
                                                Prude                     A 215221
                                                                          A 215221 18X0077
                                                                                   18X0077      AVRERUSSELL
                                                                                                AVRE         L.
                                                                                                     RUSSELL L.                   0
                                                                                                                                  0    100.00 _____
                                                                                                     MORRIS
                                                                                                     MORRIS
                                                                                                     INSURANCE AG
                                                                                                     INSURANCE  AG
  09/29/20 Fee
  09/29/20 Fee for
               for services
                   services provided
                            provided by
                                     by FMS
                                        FMS Law
                                            Law Group
                                                Group                     A 215220
                                                                          A 215220 18X0052
                                                                                   18X0052      AVREFMS
                                                                                                AVRE     LAW
                                                                                                     FMS LAW                        4,995.50 _____
                                                                                                                                  0 4,995.50
                                                                                                                                  0
                                                                                                     GROUP, LLC
                                                                                                     GROUP,  LLC
  09/30/20 Westlaw
  09/30/20         on-line research
           Westlaw on-line research fee
                                    fee September
                                        September 2020
                                                  2020                    A 215283
                                                                          A 215283 18W9955
                                                                                   18W9955 810
                                                                                           810         WEST PAYMENT
                                                                                                       WEST  PAYMENT              0
                                                                                                                                  0     47.91 _____
                                                                                                                                        47.91
           Billing
           Billing                                                                                     CENTER
                                                                                                       CENTER
  09/30/20 Westlaw
  09/30/20 Westlaw on-line
                   on-line research
                           research fee
                                    fee September
                                        September 2020
                                                  2020                    A 215283
                                                                          A 215283 18W9956
                                                                                   18W9956 810
                                                                                           810         WEST PAYMENT
                                                                                                       WEST  PAYMENT              0
                                                                                                                                  0    171.28 _____
                                                                                                                                       171.28
           Billing
           Billing                                                                                     CENTER
                                                                                                       CENTER
  09/30/20 Westlaw
  09/30/20         on-line research
           Westlaw on-line research fee
                                    fee September
                                        September 2020
                                                  2020                    A 215283
                                                                          A 215283 18W9984
                                                                                   18W9984 810
                                                                                           810         WEST PAYMENT
                                                                                                       WEST  PAYMENT              0
                                                                                                                                  0     71.26 _____
                                                                                                                                        71.26
           Billing
           Billing                                                                                     CENTER
                                                                                                       CENTER
  10/16/20 Birth
  10/16/20 Birth Certificates
                 Certificates needed
                              needed for
                                     for case:
                                         case: Cook
                                               Cook County
                                                    County                A 215311
                                                                          A 215311 18Y3238
                                                                                   18Y3238      AVREMARK
                                                                                                AVRE MARK WEINER
                                                                                                          WEINER                  0
                                                                                                                                  0     19.00 _____
                                                                                                                                        19.00
           Clerk
           Clerk
  10/31/20 October
  10/31/20 October 2020
                   2020 Billing
                        Billing                                           A
                                                                          A         1871084
                                                                                    18Z1084     AVREWEST
                                                                                                AVRE       PAYMENT
                                                                                                     WEST PAYMENT                 0
                                                                                                                                  0    114.37 _____
                                                                                                                                       114.37
                                                                                                     CENTER
                                                                                                     CENTER
  11/01/20 October
  11/01/20 October 2020
                   2020 Billing
                        Billing                                           A
                                                                          A         1902630
                                                                                    1902630     AVREWEST
                                                                                                AVRE       PAYMENT
                                                                                                     WEST PAYMENT                 0
                                                                                                                                  0   -114.37 _____
                                                                                                                                      -114.37
                                                                                                     CENTER
                                                                                                     CENTER
  11/01/20 October
  11/01/20 October 2020
                   2020 Billing
                        Billing                                           A
                                                                          A    1214 1904153
                                                                               1214 1904153     AVREWEST
                                                                                                AVRE       PAYMENT
                                                                                                     WEST PAYMENT                 0
                                                                                                                                  0    114.37 _____
                                                                                                                                       114.37
                                                                                                     CENTER
                                                                                                     CENTER
  11/24/20 Travel
  11/24/20 Travel expenses
                   expenses for
                            for signatures
                                signatures on
                                           on authorizations
                                              authorizations              A 215469
                                                                          A 215469 1904799
                                                                                   1904799      AVREMARK
                                                                                                AVRE      DYM
                                                                                                     MARK DYM                     0
                                                                                                                                  0     25.00 _____
                                                                                                                                        25.00
           and meeting
           and  meeting
  11/30/20 Westlaw
  11/30/20         on-line research
           Westlaw on-line research fee
                                    fee November
                                        November 2020
                                                 2020                     A
                                                                          A   11421 1909925
                                                                              11421 1909925     810
                                                                                                810    WEST PAYMENT
                                                                                                       WEST  PAYMENT              0
                                                                                                                                  0     11.74 _____
                                                                                                                                        11.74
           Billing
           Billing                                                                                     CENTER
                                                                                                       CENTER
  12/04/20 Fee
  12/04/20 Fee for
                for services
                     services provided
                              provided by
                                       by FMS
                                          FMS Law
                                              Law Group
                                                  Group                   A 215481
                                                                          A 215481 1914080
                                                                                   1914080      AVREFMS
                                                                                                AVRE     LAW
                                                                                                     FMS LAW                      0 7,386.42
                                                                                                                                  0 7,386.42 _____
           (20/5 -- 12/3)
           (10/5    12/3)                                                                            GROUP, LLC
                                                                                                     GROUP,  LLC
  12/16/20
  12/16/20 Certificate of
           Certificate  of Good
                           Good Standing
                                   Standing for
                                             for Matthew
                                                  Matthew Piers,
                                                            Piers,        A1152021
                                                                          A         1941941
                                                                            1152021 1941941     AVRECHASE
                                                                                                AVRE CHASE                        0
                                                                                                                                  0     80.00 _____
                                                                                                                                        80.00
           Margaret Truesdale,
           Margaret    Truesdale, Mark
                                     Mark Dym
                                           Dym and
                                                 and Adam
                                                      Adam Ingber
                                                              Ingber                                 CARDMEMBER
                                                                                                     CARDMEMBER
           @ $20
           @        each.
              $20 each.                                                                              SERVICES
                                                                                                     SERVICES
  12/17/20 Overnight
  12/17/20 Overnight delivery
                        delivery service
                                  service charge:
                                          charge: Overnight
                                                     Overnight            A
                                                                          A   11421 1925651
                                                                              11421 1925651     OVEFFEDERAL
                                                                                                OVERFEDERAL                       0
                                                                                                                                  0     29.34 _____
                                                                                                                                        29.34
           delivery service
           delivery  service charge:
                               charge: Stephen
                                        Stephen G. G. Schwarz,
                                                       Schwarz,                                      EXPRESS
                                                                                                    EXPRESS
           Rochester, NY
           Rochester,    NY
  12/31/20 Westlaw
  12/31/20 Westlaw on-line
                   on-line research
                           research fee
                                    fee December
                                        December 2020
                                                 2020                     A2142021
                                                                          A         1930500
                                                                            2142021 1930500     810
                                                                                                810    WEST PAYMENT
                                                                                                       WEST  PAYMENT              0
                                                                                                                                  0    101.23 _____
                                                                                                                                       101.23
           Billing
           Billing                                                                                     CENTER
                                                                                                       CENTER
  01/05/21
  01/05/21 Expert retainer
           Expert retainer fee
                           fee re:
                               re: Arden
                                   Arden Forensics,
                                         Forensics, PC
                                                    PC                    A1062021
                                                                          A         1930576
                                                                            1062021 1930576     AVREARDEN
                                                                                                AVRE ARDEN                          1,000.00 _____
                                                                                                                                  0 1,000.00
                                                                                                                                  0
                                                                                                     FORENSICS, PC
                                                                                                     FORENSICS, PC
  01/21/21 Digital
  01/21/21 Digital copies
                   copies of
                          of McKinney's
                             McKinney's Consolidated
                                        Consolidated Laws
                                                     Laws of
                                                          of              A 215691
                                                                          A 215691 1939251
                                                                                   1939251      AVRETHE
                                                                                                AVRE     NEW YORK
                                                                                                     THE NEW  YORK                0
                                                                                                                                  0     19.00 _____
                                                                                                                                        19.00
           NY
           NY                                                                                        STATE LIBRARY
                                                                                                     STATE LIBRARY
  01/31/21 Westlaw
  01/31/21 Westlaw on-line
                   on-line research
                           research fee
                                    fee January
                                        January 2021
                                                2021 Billing
                                                     Billing              A
                                                                          A         1947649
                                                                                    1947649     810
                                                                                                810    WEST PAYMENT
                                                                                                       WEST  PAYMENT              0
                                                                                                                                  0    167.59 _____
                                                                                                                                       167.59
                                                                                                       CENTER
                                                                                                       CENTER
9/16/2022 11:37:39
9/16/2022 11:37:39 AM
                   AM    Case 6:20-cv-06675-FPG Document
                                                   Pre-Billing 62-1
                                                   Pre-Billing  Report Filed 10/06/22 Page 27 of 39
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  Client:
  Client: 23431 -- NATHANIEL
          23431    NATHANIEL MCFARLAND
                             MCFARLAND
  Matter:
  Matter: 206825 -- ESTATE
          206825     ESTATE OF
                             OF DANIEL
                                DANIEL PRUDE
                                       PRUDE V.
                                             V. CITY
                                                CITY OF
                                                     OF ROCHSTER
                                                        ROCHSTER

         206825
         206825     ESTATE OF
                    ESTATE OF DANIEL
                              DANIEL PRUDE
                                     PRUDE V.
                                           V. CITY
                                              CITY OF
                                                   OF ROCHSTER
                                                      ROCHSTER


                                                                   Cash
                                                                   Cash                     Expense
                                                                                            Expense
  Date
  Date       Expenses
             Expenses                                               Adv Ref##
                                                                    Adv Ref     Event
                                                                                Event     Code
                                                                                          Code   Vendor
                                                                                                 Vendor            Units
                                                                                                                   Units   Amount Bill
                                                                                                                           Amount Bill Amt
                                                                                                                                       Amt


  01/31/21 Westlaw
  01/31/21 Westlaw on-line
                   on-line research
                           research fee
                                    fee January
                                        January 2021
                                                2021 Billing
                                                     Billing          A
                                                                      A         1947846
                                                                                1947846     810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0    -167.59 _____
                                                                                                                           -167.59
                                                                                                  CENTER
                                                                                                  CENTER
  01/31/21 Westlaw
  01/31/21         on-line research
           Westlaw on-line research fee
                                    fee January
                                        January 2021
                                                2021 Billing
                                                     Billing          A
                                                                      A    314 1947879
                                                                           314 1947879      810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0     167.59 _____
                                                                                                                            167.59
                                                                                                  CENTER
                                                                                                  CENTER
  02/01/21 Medical
  02/01/21 Medical expert
                   expert fee
                          fee re:
                              re: Arden Forensics
                                  Arden Forensics                     A 215735
                                                                      A 215735 1946696
                                                                               1946696      AVREARDEN
                                                                                            AVRE ARDEN                0
                                                                                                                      0     925.00 _____
                                                                                                                            925.00
                                                                                                 FORENSICS, PC
                                                                                                 FORENSICS, PC
  02/11/21
  02/11/21 Admission to federal
           Admission to federal court
                                court in
                                      in WDNY
                                         WDNY                         A 215782
                                                                      A 215782 1953210
                                                                               1953210      AVRECLERK, U.S.
                                                                                            AVRECLERK, U.S.           0
                                                                                                                      0     225.00 _____
                                                                                                                            225.00
                                                                                                  DISTRICT COURT
                                                                                                  DISTRICT COURT
  02/28/21 Westlaw
  02/28/21         on-line research
           Westlaw on-line research fee
                                    fee February
                                        February 2021
                                                 2021                 A
                                                                      A         1966872
                                                                                1966872     810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0     203.85 _____
                                                                                                                            203.85
           Billing
           Billing                                                                                CENTER
                                                                                                  CENTER
  02/28/21 Travel
  02/28/21 Travel expenses
                  expenses for
                           for preparation
                               preparation of
                                           of Nate
                                              Nate                    A 215908
                                                                      A 215908 1966906
                                                                               1966906      AVREMARK
                                                                                            AVRE      DYM
                                                                                                 MARK DYM             0
                                                                                                                      0      44.80 _____
                                                                                                                             44.80
  03/01/21 Westlaw
  03/01/21 Westlaw on-line
                   on-line research
                           research fee
                                    fee February
                                        February 2021
                                                 2021                 A
                                                                      A         1968880
                                                                                1968880     810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0    -203.85 _____
                                                                                                                           -203.85
           Billing
           Billing                                                                                CENTER
                                                                                                  CENTER
  03/01/21 Westlaw
  03/01/21         on-line research
           Westlaw on-line research fee
                                    fee February
                                        February 2021
                                                 2021                 A
                                                                      A    314 1968914
                                                                           314 1968914      810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0     203.85 _____
                                                                                                                            203.85
           Billing
           Billing                                                                                CENTER
                                                                                                  CENTER
  03/02/21 Consultation
  03/02/21 Consultation Services
                        Services fee
                                 fee re:
                                     re: Arden
                                         Arden Forensics
                                               Forensics              A 215854
                                                                      A 215854 1968503
                                                                               1968503      AVREARDEN
                                                                                            AVRE ARDEN                0
                                                                                                                      0     687.50 _____
                                                                                                                            687.50
                                                                                                 FORENSICS, PC
                                                                                                 FORENSICS, PC
  03/06/21 Travel
  03/06/21 Travel expenses
                   expenses for
                             for Press
                                  Press Conference;
                                        Conference; picking
                                                    picking up
                                                            up        A 215908
                                                                      A 215908 1971805
                                                                               1971805      AVREMARK
                                                                                            AVRE      DYM
                                                                                                 MARK DYM             0
                                                                                                                      0      91.80 _____
                                                                                                                             91.80
           and returning
           and  returning Nate
                          Nate to
                                to Chicago
                                   Chicago
  03/07/21 Travel
  03/07/21 Travel to
                  to office
                     office and
                            and client
                                client prep
                                       prep meeting
                                            meeting                   A 215908
                                                                      A 215908 1971806
                                                                               1971806      AVREMARK
                                                                                            AVRE      DYM
                                                                                                 MARK DYM             0
                                                                                                                      0      61.80 _____
                                                                                                                             61.80
  03/08/21 Parking
  03/08/21 Parking for
                   for meeting
                       meeting on
                               on 3/8/21
                                  3/8/21                              A 216240
                                                                      A 216240 1996731
                                                                               1996731      AVREMARK
                                                                                            AVRE      DYM
                                                                                                 MARK DYM             0
                                                                                                                      0      46.00 _____
                                                                                                                             46.00
  03/17/21 Travel
  03/17/21 Travel expenses
                   expenses for
                             for dep
                                 dep prep
                                     prep with Nate and
                                          with Nate and Adam
                                                        Adam          A 216016
                                                                      A 216016 1976911
                                                                               1976911      AVREMARK
                                                                                            AVRE      DYM
                                                                                                 MARK DYM             0
                                                                                                                      0      20.40 _____
                                                                                                                             20.40
           on March
           on  March 17,
                      17, 2021
                          2021
  03/22/21 Travel
  03/22/21 Travel expenses
                  expenses to
                           to meet
                              meet with client on
                                   with client on 3/22/21
                                                  3/22/21             A 216016
                                                                      A 216016 1980477
                                                                               1980477      AVREMARK
                                                                                            AVRE      DYM
                                                                                                 MARK DYM             0
                                                                                                                      0      22.40 _____
                                                                                                                             22.40
  03/24/21 Pick
  03/24/21 Pick up
                 up and
                     and travel
                          travel for
                                  for depositions
                                      depositions on
                                                  on 3/24/21
                                                     3/24/21 (80
                                                             (80      A 216016
                                                                      A 216016 1980479
                                                                               1980479      AVREMARK DYM
                                                                                            AVREMARK DYM              0
                                                                                                                      0      61.80 _____
                                                                                                                             61.80
           miles); parking
           miles);  parking fee
                              fee
  03/31/21 Westlaw
  03/31/21         on-line research
           Westlaw on-line research fee
                                    fee March
                                        March 2021
                                              2021 Billing
                                                   Billing            A
                                                                      A         1988305
                                                                                1988305     810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0     186.35 _____
                                                                                                                            186.35
                                                                                                  CENTER
                                                                                                  CENTER
  03/31/21 Westlaw
  03/31/21 Westlaw on-line
                   on-line research
                           research fee
                                    fee March
                                        March 2021
                                              2021 Billing
                                                   Billing            A
                                                                      A         1988542
                                                                                1988542     810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0    -186.35 _____
                                                                                                                           -186.35
                                                                                                  CENTER
                                                                                                  CENTER
  03/31/21 Westlaw
  03/31/21         on-line research
           Westlaw on-line research fee
                                    fee March
                                        March 2021
                                              2021 Billing
                                                   Billing            A
                                                                      A         1988577
                                                                                1988577     810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0     186.35 _____
                                                                                                                            186.35
                                                                                                  CENTER
                                                                                                  CENTER
  04/12/21 Attended
  04/12/21 Attended CLE
                     CLE on
                         on positional
                            positional asphyxia
                                       asphyxia to
                                                to assist
                                                   assist in
                                                          in          A 216063
                                                                      A 216063 1995448
                                                                               1995448      AVREELIZABETH
                                                                                            AVRE ELIZABETH            0
                                                                                                                      0      99.95 _____
                                                                                                                             99.95
           Prude matter
           Prude  matter                                                                         MAZUR
                                                                                                 MAZUR
  04/28/21 For
  04/28/21 For services
               services rendered
                        rendered by
                                 by the
                                    the FMS
                                        FMS Law
                                            Law Group
                                                Group                 A 216583
                                                                      A 216583 19G8421
                                                                               19G8421      AVREFMS
                                                                                            AVRE     LAW
                                                                                                 FMS LAW              0 1,472.50
                                                                                                                      0 1,472.50 _____
                                                                                                 GROUP, LLC
                                                                                                 GROUP,  LLC
  04/30/21 Westlaw
  04/30/21         on-line research
           Westlaw on-line research fee
                                    fee April 2021 Billing
                                        April 2021 Billing            A
                                                                      A         19B0436
                                                                                19B0436     810
                                                                                            810   WEST PAYMENT
                                                                                                  WEST  PAYMENT       0
                                                                                                                      0      12.54 _____
                                                                                                                             12.54
                                                                                                  CENTER
                                                                                                  CENTER
  05/03/21 Retainer
  05/03/21 Retainer fee
                    fee for
                        for expert
                            expert witness
                                   witness Scott
                                           Scott DeFoe
                                                 DeFoe                A 216144
                                                                      A 216144 19A8853
                                                                               19A8853      AVREON-SCENE
                                                                                            AVRE ON-SCENE               4,000.00 _____
                                                                                                                      0 4,000.00
                                                                                                                      0
                                                                                                 CONSULTING
                                                                                                 CONSULTING
                                                                                                 GROUP, LLC
                                                                                                 GROUP, LLC
  05/17/21 Fee
  05/17/21 Fee for
               for services
                   services provided
                            provided by
                                     by M.K.
                                        M.K.                          A 216225
                                                                      A 216225 19B9098
                                                                               19B9098      AVREM.K.COMMUNICA
                                                                                            AVRE M.K.COMMUNICA          8,775.00 _____
                                                                                                                      0 8,775.00
                                                                                                                      0
           Communications
           Communications                                                                        TIONS
                                                                                                 TIONS
  05/31/21 May
  05/31/21 May 2021
               2021 Billing
                    Billing                                           A
                                                                      A         19C8715
                                                                                19C8715     AVREWEST
                                                                                            AVRE       PAYMENT
                                                                                                 WEST PAYMENT         0
                                                                                                                      0      20.28 _____
                                                                                                                             20.28
                                                                                                 CENTER
                                                                                                 CENTER
  05/31/21 May
  05/31/21 May 2021
               2021 Billing
                    Billing                                           A
                                                                      A         19C9290
                                                                                19C9290     AVREWEST
                                                                                            AVRE       PAYMENT
                                                                                                 WEST PAYMENT         0
                                                                                                                      0     -20.28 _____
                                                                                                                            -20.28
                                                                                                 CENTER
                                                                                                 CENTER
  05/31/21 May
  05/31/21 May 2021
               2021 Billing
                    Billing                                           A
                                                                      A         19C9332
                                                                                19C9332     AVREWEST
                                                                                            AVRE       PAYMENT
                                                                                                 WEST PAYMENT         0
                                                                                                                      0      23.93 _____
                                                                                                                             23.93
                                                                                                 CENTER
                                                                                                 CENTER
  05/31/21 May
  05/31/21 May 2021
               2021 Billing
                    Billing                                           A
                                                                      A         19E9361
                                                                                19E9361     AVREWEST
                                                                                            AVRE       PAYMENT
                                                                                                 WEST PAYMENT         0
                                                                                                                      0      23.93 _____
                                                                                                                             23.93
                                                                                                 CENTER
                                                                                                 CENTER
  06/01/21 May
  06/01/21 May 2021
               2021 Billing
                    Billing                                           A
                                                                      A         19E9316
                                                                                19E9316     AVREWEST
                                                                                            AVRE       PAYMENT
                                                                                                 WEST PAYMENT         0
                                                                                                                      0     -23.93 _____
                                                                                                                            -23.93
                                                                                                 CENTER
                                                                                                 CENTER
9/16/2022 11:37:39
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                   AM   Case 6:20-cv-06675-FPG Document
                                                  Pre-Billing 62-1
                                                  Pre-Billing  Report Filed 10/06/22 Page 28 of 39
                                                              Report                                                             Page 3
                                                                                                                                 Page 3

  Client:
  Client: 23431 -- NATHANIEL
          23431    NATHANIEL MCFARLAND
                             MCFARLAND
  Matter:
  Matter: 206825 -- ESTATE
          206825     ESTATE OF
                             OF DANIEL
                                DANIEL PRUDE
                                       PRUDE V.
                                             V. CITY
                                                CITY OF
                                                     OF ROCHSTER
                                                        ROCHSTER

         206825
         206825    ESTATE OF
                   ESTATE OF DANIEL
                             DANIEL PRUDE
                                    PRUDE V.
                                          V. CITY
                                             CITY OF
                                                  OF ROCHSTER
                                                     ROCHSTER


                                                                 Cash
                                                                 Cash                     Expense
                                                                                          Expense
  Date
  Date       Expenses
             Expenses                                             Adv Ref##
                                                                  Adv Ref     Event
                                                                              Event     Code
                                                                                        Code   Vendor
                                                                                               Vendor           Units
                                                                                                                Units   Amount Bill
                                                                                                                        Amount Bill Amt
                                                                                                                                    Amt


  06/03/21 Retainer
  06/03/21 Retainer fee
                     fee for
                         for an
                              an expert
                                 expert re:
                                        re: Forensic
                                            Forensic Research
                                                     Research       A 216284
                                                                    A 216284 19D3548
                                                                             19D3548      AVREFORENSIC
                                                                                          AVRE FORENSIC            0 6,500.00
                                                                                                                   0 6,500.00 _____
           and Analysis,
           and  Analysis, Inc.
                           Inc.                                                                RESEARCH AND
                                                                                               RESEARCH AND
                                                                                               ANALYSIS
                                                                                               ANALYSIS
  06/30/21 Westlaw
  06/30/21 Westlaw on-line
                   on-line research
                           research fee
                                    fee June
                                        June 2021
                                             2021 Billing
                                                  Billing --        A
                                                                    A         19E8471
                                                                              19E8471     810
                                                                                          810   WEST PAYMENT
                                                                                                WEST  PAYMENT      0
                                                                                                                   0      10.55 _____
                                                                                                                          10.55
           WestLaw
           WestLaw                                                                              CENTER
                                                                                                CENTER
  09/02/21
  09/02/21 Consultation Services
           Consultation Services of
                                 of Arden
                                    Arden Forensics,
                                          Forensics,                A 216828
                                                                    A 216828 19J9307
                                                                             19J9307      AVREARDEN
                                                                                          AVRE ARDEN               0 1,787.50
                                                                                                                   0 1,787.50 _____
           McLean, VA
           McLean,   VA                                                                        FORENSICS, PC
                                                                                               FORENSICS, PC
  10/05/21 Westlaw
  10/05/21         on-line research
           Westlaw on-line research fee
                                    fee September
                                        September 2021
                                                  2021              A
                                                                    A         19K9887
                                                                              19K9887     810
                                                                                          810   WEST PAYMENT
                                                                                                WEST  PAYMENT      0
                                                                                                                   0      47.20 _____
                                                                                                                          47.20
                                                                                                CENTER
                                                                                                CENTER
  11/03/21 Westlaw
  11/03/21 Westlaw on-line
                   on-line research
                           research fee
                                    fee October
                                        October 2021
                                                2021                A
                                                                    A         19N0985
                                                                              19N0985     810
                                                                                          810   WEST PAYMENT
                                                                                                WEST  PAYMENT      0
                                                                                                                   0     108.66 _____
                                                                                                                         108.66
                                                                                                CENTER
                                                                                                CENTER
  11/22/21 Expert
  11/22/21 Expert witness
                   witness fees
                           fees re:
                                re: Forensic
                                    Forensic Research
                                             Research &
                                                      &             A 217201
                                                                    A 217201 19O9899
                                                                             1909899      AVREFORENSIC
                                                                                          AVRE FORENSIC            0 16,250.00
                                                                                                                   0 16,250.00 _____
           Analysis
           Analysis                                                                            RESEARCH AND
                                                                                               RESEARCH AND
                                                                                               ANALYSIS
                                                                                               ANALYSIS
  11/26/21 Administrator
  11/26/21               Bond Fee
           Administrator Bond Fee                                   A 217249
                                                                    A 217249 19Q3534
                                                                             19Q3534      AVRERUSSELL
                                                                                          AVRE         L.
                                                                                               RUSSELL L.          0
                                                                                                                   0     100.00 _____
                                                                                                                         100.00
                                                                                               MORRIS
                                                                                               MORRIS
                                                                                               INSURANCE AG
                                                                                               INSURANCE  AG
  11/30/21 Westlaw
  11/30/21         on-line research
           Westlaw on-line research fee
                                    fee November
                                        November 2021
                                                 2021               A
                                                                    A         19P3233
                                                                              19P3233     810
                                                                                          810   WEST PAYMENT
                                                                                                WEST  PAYMENT      0
                                                                                                                   0      75.72 _____
                                                                                                                          75.72
                                                                                                CENTER
                                                                                                CENTER
  12/13/21 Fee
  12/13/21 Fee for
                for deposition
                    deposition of
                               of Michael
                                  Michael Magri,
                                          Magri, taken
                                                 taken on
                                                       on           A 217452
                                                                    A 217452 19Q3544
                                                                             19Q3544      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 2,141.00
                                                                                                                   0 2,141.00 _____
           12/1/21
           12/1/21
  12/13/21 Fee
  12/13/21 Fee for
               for deposition
                   deposition of
                              of Andrew
                                 Andrew Specksgoor,
                                        Specksgoor, taken
                                                    taken           A 217254
                                                                    A 217254 19Q3545
                                                                             19Q3545      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 1,218.00
                                                                                                                   0 1,218.00 _____
           on 11/29/21
           on 11/29/21
  12/16/21 Fee
  12/16/21 Fee for
                for deposition
                    deposition of
                               of Francisco
                                  Francisco Santiago,
                                            Santiago, taken
                                                      taken on
                                                            on      A 217254
                                                                    A 217254 19Q3547
                                                                             19Q3547      AVREVERITEXT
                                                                                          AVREVERITEXT             0 1,875.00
                                                                                                                   0 1,875.00 _____
           12/6/21
           12/6/21
  12/16/21 Expert
  12/16/21 Expert witness
                  witness fees
                          fees re:
                               re: On-Scene
                                   On-Scene Consulting
                                            Consulting              A 217334
                                                                    A 217334 19Q7631
                                                                             19Q7631      AVREON-SCENE
                                                                                          AVRE ON-SCENE            0 1,531.25
                                                                                                                   0 1,531.25 _____
           Group LLC
           Group  LLC                                                                          CONSULTING
                                                                                               CONSULTING
                                                                                               GROUP, LLC
                                                                                               GROUP, LLC
  12/17/21
  12/17/21 Fee for
           Fee  for deposition
                    deposition of
                               of Josiah
                                  Josiah Harris,
                                         Harris, taken
                                                 taken on
                                                       on           A 217452
                                                                    A 217452 19Q3546
                                                                             19Q3546      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 1,875.00
                                                                                                                   0 1,875.00 _____
           12/9/21
           12/9/21
  12/22/21 Fee
  12/22/21 Fee for
                for video
                    video deposition
                          deposition of
                                     of Troy
                                        Troy Taladay,
                                             Taladay, taken
                                                      taken on
                                                            on      A 217452
                                                                    A 217452 19R0519
                                                                             19R0519      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 2,266.00
                                                                                                                   0 2,266.00 _____
           12/8/21
           12/8/21
  12/22/21 Deposition
  12/22/21 Deposition transcript
                       transcript of
                                  of Andrew Specksgoor,
                                     Andrew Specksgoor,             A 217452
                                                                    A 217452 19R0520
                                                                             19R0520      AVREVERITEXT
                                                                                          AVREVERITEXT             0 1,062.10
                                                                                                                   0 1,062.10 _____
           taken on
           taken on 11/29/21
                     11/29/21
  12/29/21 Deposition
  12/29/21 Deposition Transcript
                      Transcript of
                                 of Mark
                                    Mark Vaughn,
                                         Vaughn, taken
                                                 taken on
                                                       on           A 217452
                                                                    A 217452 19T1878
                                                                             19T1878      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 1,890.00
                                                                                                                   0 1,890.00 _____
           12/17/21
           12/17/21
  12/30/21 Deposition
  12/30/21 Deposition Transcript
                      Transcript of
                                 of Michael
                                    Michael Magri,
                                            Magri, taken
                                                   taken on
                                                         on         A 217452
                                                                    A 217452 19T1876
                                                                             1971876      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 2,035.75
                                                                                                                   0 2,035.75 _____
           12/1/21
           12/1/21
  12/30/21 Deposition
  12/30/21 Deposition Transcript
                      Transcript of
                                 of Francisco
                                    Francisco Santiago,
                                              Santiago, taken
                                                        taken       A 217452
                                                                    A 217452 19T1877
                                                                             1971877      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 1,376.25
                                                                                                                   0 1,376.25 _____
           on 12/6/21
           on 12/6/21
  01/06/22 Transcript
  01/06/22 Transcript of
                      of Troy
                         Troy Taladay
                              Taladay deposition,
                                      deposition, taken
                                                  taken on
                                                        on          A 217452
                                                                    A 217452 19R9362
                                                                             19R9362      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 1,774.70
                                                                                                                   0 1,774.70 _____
           12/8/21
           12/8/21
  01/06/22 Transcript
  01/06/22 Transcript of
                      of Josiah
                         Josiah Harris
                                Harris deposition,
                                       deposition, taken
                                                   taken on
                                                         on         A 217452
                                                                    A 217452 19R9363
                                                                             19R9363      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 1,786.70
                                                                                                                   0 1,786.70 _____
           12/9/21
           12/9/21
  01/14/22 Fees
  01/14/22 Fees for
                 for deposition/transcript
                     deposition/transcript of
                                           of Mark
                                              Mark Vaughn,
                                                   Vaughn,          A 217452
                                                                    A 217452 19U2676
                                                                             19U2676      AVREVERITEXT
                                                                                          AVRE VERITEXT            0 2,377.45
                                                                                                                   0 2,377.45 _____
           taken on
           taken  on 12/17/21
                     12/17/21
  02/10/22 Video
  02/10/22 Video production
                 production for
                            for meditation
                                meditation                          A 217817
                                                                    A 217817 19Z7720
                                                                             1927720      AVREHARDPIN
                                                                                          AVRE         MEDIA,
                                                                                               HARDPIN MEDIA,      0 4,179.50
                                                                                                                   0 4,179.50 _____
                                                                                               LLC
                                                                                               LLC
  02/10/22 Video
  02/10/22 Video production
                 production for
                            for meditation
                                meditation                          A 217817
                                                                    A 217817 19Z7721
                                                                             1977721      AVREHARDPIN
                                                                                          AVRE         MEDIA,
                                                                                               HARDPIN MEDIA,      0 4,179.50
                                                                                                                   0 4,179.50 _____
                                                                                               LLC
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  03/01/22 Video
  03/01/22       production for
           Video production for mediation
                                mediation                           A
                                                                    A         19v5121
                                                                              19V5121     AVREHARDPIN
                                                                                          AVRE         MEDIA,
                                                                                               HARDPIN MEDIA,      0 4,179.50
                                                                                                                   0 4,179.50 _____
                                                                                               LLC
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  03/01/22 Video
  03/01/22 Video production
                 production for
                            for mediation
                                mediation                           A
                                                                    A         1926624
                                                                              19Z6624     AVREHARDPIN
                                                                                          AVRE         MEDIA,
                                                                                               HARDPIN MEDIA,      0 -4,179.50
                                                                                                                   0 -4,179.50 _____
                                                                                               LLC
                                                                                               LLC
9/16/2022 11:37:39
9/16/2022 11:37:39 AM
                   AM          Case 6:20-cv-06675-FPG Document
                                                         Pre-Billing 62-1
                                                         Pre-Billing  Report Filed 10/06/22 Page 29 of 39
                                                                     Report                                                                                              Page 4
                                                                                                                                                                         Page 4

  Client:
  Client: 23431 -- NATHANIEL
          23431    NATHANIEL MCFARLAND
                             MCFARLAND
  Matter:
  Matter: 206825 -- ESTATE
          206825     ESTATE OF
                             OF DANIEL
                                DANIEL PRUDE
                                       PRUDE V.
                                             V. CITY
                                                CITY OF
                                                     OF ROCHSTER
                                                        ROCHSTER

         206825
         206825          ESTATE OF
                         ESTATE OF DANIEL
                                   DANIEL PRUDE
                                          PRUDE V.
                                                V. CITY
                                                   CITY OF
                                                        OF ROCHSTER
                                                           ROCHSTER


                                                                                 Cash
                                                                                 Cash                           Expense
                                                                                                                Expense
  Date
  Date         Expenses
               Expenses                                                           Adv Ref##
                                                                                  Adv Ref          Event
                                                                                                   Event      Code
                                                                                                              Code   Vendor
                                                                                                                     Vendor                       Units
                                                                                                                                                  Units     Amount Bill
                                                                                                                                                            Amount Bill Amt
                                                                                                                                                                        Amt


  03/31/22 Westlaw
  03/31/22 Westlaw on-line
                   on-line research
                           research fee
                                    fee March
                                        March 2022
                                              2022                                      A
                                                                                        A          19X6746
                                                                                                   19X6746        810
                                                                                                                  810       WEST PAYMENT
                                                                                                                            WEST  PAYMENT              0
                                                                                                                                                       0     417.20 _____
                                                                                                                                                             417.20
                                                                                                                            CENTER
                                                                                                                            CENTER
  03/31/22 Westlaw
  03/31/22         on-line research
           Westlaw on-line research fee
                                    fee March
                                        March 2022
                                              2022                                      A
                                                                                        A          19X6747
                                                                                                   19X6747        810
                                                                                                                  810       WEST PAYMENT
                                                                                                                            WEST  PAYMENT              0
                                                                                                                                                       0          47.95 _____
                                                                                                                                                                  47.95
                                                                                                                            CENTER
                                                                                                                            CENTER
  04/30/22 Westlaw
  04/30/22 Westlaw on-line
                   on-line research
                           research fee
                                    fee April 2022
                                        April 2022                                      A
                                                                                        A          1979467
                                                                                                   19Z9467        810
                                                                                                                  810       WEST PAYMENT
                                                                                                                            WEST  PAYMENT              0
                                                                                                                                                       0     371.10 _____
                                                                                                                                                             371.10
                                                                                                                            CENTER
                                                                                                                            CENTER
  05/19/22 Travel
  05/19/22 Travel expenses
                   expenses for
                            for meeting
                                meeting with
                                        with N.
                                             N. Prude
                                                Prude on
                                                      on                                A 217947
                                                                                        A 217947 1A13896
                                                                                                 1A13896          AVREMARK DYM
                                                                                                                  AVREMARK DYM                         0
                                                                                                                                                       0          36.27 _____
                                                                                                                                                                  36.27
           5-19-22
           5-19-22
  05/24/22 Travel
  05/24/22 Travel expenses
                  expenses to
                            to meet
                               meet Nate
                                    Nate in
                                         in Villa
                                            Villa Park
                                                  Park for
                                                       for                              A 217968
                                                                                        A 217968 1A15958
                                                                                                 1A15958          AVREMARK
                                                                                                                  AVRE      DYM
                                                                                                                       MARK DYM                        0
                                                                                                                                                       0          37.27 _____
                                                                                                                                                                  37.27
           continued mediation
           continued mediation
  06/02/22 Westlaw
  06/02/22 Westlaw on-line
                   on-line research
                           research fee
                                    fee May
                                        May 2022
                                            2022                                        A
                                                                                        A          1A19697
                                                                                                   1A19697        810
                                                                                                                  810       WEST PAYMENT
                                                                                                                            WEST  PAYMENT              0
                                                                                                                                                       0     432.21 _____
                                                                                                                                                             432.21
                                                                                                                            CENTER
                                                                                                                            CENTER
  06/10/22 Travel
  06/10/22 Travel expenses
                  expenses to
                           to Villa
                              Villa Park
                                    Park for
                                         for mediation
                                             mediation                                  A 218016
                                                                                        A 218016 1A27371
                                                                                                 1A27371          AVREMARK
                                                                                                                  AVRE      DYM
                                                                                                                       MARK DYM                        0
                                                                                                                                                       0          37.27 _____
                                                                                                                                                                  37.27
  07/06/22 Westlaw
  07/06/22         on-line research
           Westlaw on-line research fee
                                    fee June
                                        June 2022
                                             2022 Billing
                                                  Billing                               A
                                                                                        A          1A39452
                                                                                                   1A39452        810
                                                                                                                  810       WEST PAYMENT
                                                                                                                            WEST  PAYMENT              0
                                                                                                                                                       0     411.88 _____
                                                                                                                                                             411.88
                                                                                                                            CENTER
                                                                                                                            CENTER
  08/17/22 For
  08/17/22 For services
               services rendered
                        rendered by
                                 by the
                                    the FMS
                                        FMS Law
                                            Law Group
                                                Group                                   A
                                                                                        A          1A65539
                                                                                                   1A65539        AVREFMS
                                                                                                                  AVRE     LAW
                                                                                                                       FMS LAW                         0
                                                                                                                                                       0     902.50 _____
                                                                                                                                                             902.50
                                                                                                                       GROUP, LLC
                                                                                                                       GROUP,  LLC
  09/06/22 Westlaw
  09/06/22         on-line research
           Westlaw on-line research fee
                                    fee August 2022 Billing
                                        August 2022 Billing                             A
                                                                                        A          1A77940
                                                                                                   1A77940        810
                                                                                                                  810       WEST PAYMENT
                                                                                                                            WEST  PAYMENT              0
                                                                                                                                                       0     275.37 _____
                                                                                                                                                             275.37
                                                                                                                            CENTER
                                                                                                                            CENTER
  09/16/22
  09/16/22 Rochester Ethics
           Rochester   Ethics Consultation
                              Consultation fee
                                           fee re:
                                               re: Miner,
                                                   Miner,                               A
                                                                                        A          1A85797
                                                                                                   1A85797        AVREMINER
                                                                                                                  AVRE        BARNHILL
                                                                                                                       MINER BARNHILL                  0 9,442.50
                                                                                                                                                       0 9,442.50 _____
           Barhill &
           Barhill & Galland,
                     Galland, P.C.
                              P.C.                                                                                     & GALLAND,
                                                                                                                       & GALLAND, P.C.
                                                                                                                                   P.C.
                                                                                       Amount Billed -- Expenses
                                                                                       Amount Billed    Expenses                                                  100,811.92
                                                                                                                                                                  100,811.92
                  Advance vs.
                  Advance   vs. Non-Cash
                                Non-Cash Summary
                                         Summary
         Advanced  expenses
         Advanced expenses                     100,811.92
                                               100,811.92
         Non-cash expenses
         Non-cash  expenses                           0.00
                                                      0.00
         Total Costs
         Total Costs                                     100,811.92
                                                         100,811.92


                                                                                                               Entire Bill
                                                                                                               Entire Bill Totals
                                                                                                                           Totals                                  $100,811.92
                                                                                                                                                                   $100,811.92
         Date Last
         Date Last Billed
                    Billed
         Amount   Last Bill
         Amount Last    Bill                             0.00
                                                         0.00                                                  Credit // Pre-paid
                                                                                                                         Pre-paid balance
                                                                                                                                  balance                                $0.00
                                                                                                                                                                         $0.00
         Date Last
         Date Last Paid
                    Paid
         Amount   Last Paid
         Amount Last    Paid                                                                                   Credit / Pre-paid
                                                                                                                        Pre-paid applied
                                                                                                                                 applied

                                                                                                               Trust balance
                                                                                                               Trust balance                                             $0.00
                                                                                                                                                                         $0.00

                                                                                                               Trust applied
                                                                                                               Trust applied

                                                                                                               Courtesy Discount
                                                                                                               Courtesy Discount on
                                                                                                                                 on Fees
                                                                                                                                    Fees

         AR Aging
         AR Aging
                 Total AR
                 Total AR                Current
                                         Current                    31-60
                                                                    31-60                        61-90
                                                                                                 61-90                         Over 90
                                                                                                                               Over  90
                      0.00
                      0.00                  0.00
                                            0.00                     0.00
                                                                     0.00                          0.00
                                                                                                  0.00                             0.00
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      Billasis
      Bill as is (( ))            Bill as
                                  Bill as marked
                                          marked (( ))          Bill fees
                                                                Bill fees only
                                                                          only (( ))                Bill costs
                                                                                                    Bill costs only
                                                                                                               only (( ))           Hold until
                                                                                                                                    Hold until next
                                                                                                                                               next month
                                                                                                                                                    month (( ))
                           Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 30 of 39


                                               Disbursement Report:
                                               Prude, Daniel (Estate)


Trans Date   Check   No                                         Narrative                             Disbursement Amount



10/26/2020   81481                FedEx express shipping service to Elliot Shields, Tashyra Prude,                 $399.29
                                  Terrell Prude, Junera Prude, Sharell Prude, and Tameshay    Prude

12/22/2020   81638                Legal Fees (TORRES      LAW OFFICE,   PC)                                       $8,080.35


01/11/2021   20210111003          Medical Records from University of Rochester Strong Memorial                     $951.75
                                  Hospital

02/25/2021   81816                Miscellaneous Expense                                                            $150.00


02/11/2021   20210211006          Public Access to Court Electronic Records                                           $1.10


03/26/2021   81897                Service of Legal Documents (ALL NEW YORK PROCESS                                 $385.00
                                  SERVERS)

03/26/2021   81996                Transcript Cost                                                                  $112.55


05/18/2021   82028                Medical Consultation                                                            $1,750.00


05/03/2021   05042587             Filing Fee for Request for Surrogates Court Action                               $154.49


06/01/2021   82069                Legal Fees (TORRES      LAW OFFICE,   PC)                                        $678.50
                           Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 31 of 39


                                                 Disbursement Report:
                                                 Prude, Daniel (Estate)


07/09/2021   82161                Legal Fees (Torres Law Office, P.C.)                         $531.00


08/05/2021   82217                Legal Fees (TORRES LAW OFFICE, PC)                            $87.95


09/02/2021   82291                Subpoena Witness Fee                                          $15.00


09/02/2021   82292                Subpoena Witness Fee                                          $15.00


09/17/2021   20210917001          Medical Records from American Medical Response                $27.25


09/23/2021   82338                Copy Service                                                  $27.25


10/07/2021   82361                Subpoena Witness Fee (Office of the Monroe County Medical     $15.00
                                  Examiner)

10/12/2021   82378                Service of Legal Documents                                   $400.00


10/21/2021   82402                Service of Legal Documents                                    $95.00


11/15/2021   82467                Videotaping Services                                         $700.00


12/01/2021   82487                 Deposition Services                                         $934.25
                                    Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 32 of 39


                                                        Disbursement Report:
                                                        Prude, Daniel (Estate)


                      82513                FedEx express shipping service to Elizabeth Mazur                            $86.74
  11/29/2021


  12/09/2021          20211209002          Public Access to Court Electronic Records                                      $0.80


  03/01/2022          82683                Deposition services to Sync Transcipts with the video into an MBD file      $398.88
                                           for trial

                                                                                                                    $15,997.15
Disbursement Total:
Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 33 of 39




                EXHIBIT
                EXHIBIT
                   F
                   F
      Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 34 of 39




                        IN THE CIRCU{T COURT OF C{.% COURYY,
                   ILLINOIS COUNTY SEPARTMENT —     DBATE M:ViSION

                                                            )
Estate of                                                   )
                                                            })    No.    2670      4823
          DANIEL PRUDE,                                     )
                                                            }     Hon.            A. Delgado
                           Deceased.                        )




                   AGREED ORDER GRANTING SETTLE                                  {ENT AUTHORITY

            This matter coming        before   the Court   by agreemc::          of the Administrator      and     all heirs,


 with the Court being informed a; ‘olla ws:

     1.     Decedent Daniel Prude lost consciousness while                      » the custody of City of Rochester
            police officers on March 23, 2022, never regainec                   .nsciousness, and died in New York
            on March 30, 2020.

     2.     Decedent died intestate and domiciled in Cock Cone                     ilinots.

     3.     On November 12, 2020, this Court                     appoints.       Nathen'c!     McFarland         Supervised
            Administrator of Daniel Prude’s Estate.

     4.     On December 3, 2022, the Mcrroe County Surroge!»’s Court in New York appointed Mr.
            McFarland Ancillary ry Administrator of the Estate   saniel Pride and revoked the letters
            of appointment previousiy issued to Tameshay Prvo'c. the decedent’s sister.

     5.     On   January   5, 2021,     the U.s.    District Court       fou the Western       District   of New        York
            substituted Mr. McFarland          for Tameshay Prude 2:            Uisintiff in rude   v. City of Rochester
            et al, 6:20-cv-006675 PG he “Wrongful Dee: Action”). The claims raised in the
            Wrongful Death Action are the: only asset in the E- ie of Danici Prude.

     6.     Thereafter and in order to facilitate setilement, the + wlge overseeing the Wrongful Death
            Action in the U.S. District Court for the Westerr:    *iwirict of few York, the Hon, Frank
            Geraci, arranged for two other federal judges to sui.  as mediators to facilitate settlement
            negotiations. Over the past $sverai months, the lies to tha 9 7 oongful Death Action
            have engaged in substantial arcs length, mediate:                   satiation,

     7.     Pursuant to Local Rulz <i of the United Sates Tet -icy
            New York, any settlement ¢f 2 claim by a deceienat's
            including approval of a:‘omeys fees and costs,
        Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 35 of 39




   8.    The Administrator, with consent of all heirs, seeks   authorization from this Court to enter
         into a settlement of the Wrongful Death Action sur cl to the anproval of said settlement
         by the United States Disirict Court for the Westerr. “istrict of Ivew York, including as to
         attorneys’ fees and costs, znd with the net proceeds «3 be disiriboted pursuant to order of
         this Probate Court of the Circui. Court of Cook Cox. + Illinois

         IT IS HEREBY ORDERED           AS FOLLOWS:

   1.    Supervised Administrztor Natteniel McFarland : authorized io set'le the Wrongful
         Death Action (with such settlement includir.           infer ain   attorneys’ fees and
         disbursements) without further approval of this Covi, subjec to obtaining approval of
         the settlement by the U.S. District Court for the We 2m Distrie: of New York.

   2.    In the event that the U.S District Court for the Wes! wra District of Mew York approves a
         settlement of the Wren:zit Derth Acton, Svpervies. Administ: or Mathaniel McFarland
         is directed to apply to this Ceurt for an order of    iribution of the net proceeds of any
         such settlement.




                                                         Hor (oaf AL
Firm ID: 56304
James G. Riley
FMS Law Group LLC
200 West Monroe St., Ste. 750
Chicago, Illinois 60606
(312) 332-6381
james.riley@fmslawgroup.com
One of the Attorneys for Nathasie! Mo Sarland
                                                  2
Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 36 of 39




                EXHIBIT
                  G
       Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 37 of 39




    UNITED STATES DISTRICT COURT
    WESTERN DISTRICT OF NEW YORK


 NATHANIEL MCFARLAND, in his capacity as
 supervised and ancillary administrator of the ESTATE
 OF DANIEL PRUDE,

                     Plaintiff,
                                                                  No. 6:20-cv-006675-FPG
                     v.

 THE CITY OF ROCHESTER, MARK VAUGHN,
 TROY TALADAY, FRANCISCO SANTIAGO,
 MICHAEL MAGRI, ANDREW SPECKSGOOR,
 JOSIAH HARRIS, and other as-yet-unidentified
 Rochester police officers,

                     Defendants.



                    [PROPOSED] ORDER APPROVING SETTLEMENT
       Upon the Plaintiff’s application for settlement approval pursuant to Local Rule 41 and

submission of affidavits in support thereof, the Court states as follows:

       1.      In light of the complexity of this matter and its significance to the community, and

with agreement of the parties, in early 2022, this Court appointed two federal judges to serve as

mediators in this action, Hon. LaShann DeArcy Hall of the United States District Court for the

Eastern District of New York, and Hon. Magistrate Judge Jonathan Feldman of the United States

District Court for the Western District of New York.

       2.      After extensive arm’s length, mediated negotiations, lasting over several months,

the parties report that they have reached a settlement in principle.

       All parties appearing before the Court, and the Court finding, and the parties agreeing,

that a hearing is not necessary, IT IS HEREBY ORDERED:
       Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 38 of 39




       1.      The Court hereby approves, pursuant to Local Rule 41, the terms of the proposed

settlement of the above-referenced action involving claims by the Estate of decedent Daniel

Prude, including the attorneys’ fees and disbursements to be paid out of the settlement, finding

the terms thereof to be fair and reasonable and in the best interest of the Estate and distributees.

These terms include the following:

       a. The above-referenced action (the “Lawsuit”) is settled for a payment by Defendant City
          of Rochester to the Plaintiff in the total amount of twelve million dollars ($12,000,000)
          (the “Settlement Amount”).

       b. The Lawsuit will be dismissed with prejudice, waiver of any right to appeal, and a
          general release of the Defendants (and their agents, successors and employees) by the
          Plaintiff Administrator.

       c. There will be no admission of liability.

       d. Fifty percent (50%) of the Settlement Amount (six million dollars ($6,000,000)) is to
          be paid as compensation for damages for conscious pain and suffering (“Survival
          Claims”), and the remaining fifty percent (50%) of the Settlement Amount (six million
          dollars ($6,000,000)) is to be paid as compensation for damages for pecuniary injuries
          to five children, the heirs, resulting from the decedent’s death (“Wrongful Death
          Claims”). No portion of the Settlement Amount is to be paid for punitive damages.

       e. Thirty-three percent of the total Settlement Amount (33 percent of the Survival Claims
          damages ($1,980,000) and 33 percent of the Wrongful Death Claims damages
          ($1,980,000)) will be paid as attorneys’ fees to Plaintiff’s Counsel, for a total of three
          million nine-hundred and sixty thousand dollars ($3,960,000) in attorneys’ fees.

       f. One-hundred and sixteen thousand eight-hundred and eight dollars and 92 cents
          (($116,808.92) of the Settlement Amount ($58,404.46 of the Survival Claims damages
          and $58,404.46 of the Wrongful Death Claims damages) are to be paid to Plaintiff’s
          Counsel for disbursements, to reimburse Plaintiff’s Counsel for costs incurred in
          advancing the claims in the above-referenced action.

       g. The Settlement Amount net of attorneys’ fees and disbursements shall be paid into two
          separate “Qualified Settlement Funds” (“QFS”)—one for the Survival Claims damages
          net of fees and disbursements and one for the Wrongful Death Claims damages net of
          fees and disbursements—within the meaning of United States Treasury Regulation §
          1.468B-1, 26 C.F.R. § 1.468B-1 that shall be established pursuant this Order and will
          be subject to the continuing jurisdiction of this Court until payments are directed from
          these two funds by the Cook County Probate Court. Defendant is a “transferor” within
          the meaning of United States Treasury Regulation § 1.468B-1(d)(1) to the Settlement
       Case 6:20-cv-06675-FPG Document 62-1 Filed 10/06/22 Page 39 of 39




            Funds. Eastern Point Trust Company, shall be the “administrator” of the Settlement
            Funds within the meaning of United States Treasury Regulation § 1.468B-2(k)(3) and,
            as the administrator, shall: (a) timely make or join in any and all filings or elections
            necessary to make the Settlement Funds qualified settlement funds at the earliest
            possible date (including, if requested by Defendant, a relation-back election within the
            meaning of United States Treasury Regulation § 1.468B-1(j)); (b) timely file all
            necessary or advisable tax returns, reports, or other documentation required to be filed
            by or with respect to the Settlement Funds; (c) timely pay any taxes (including any
            estimated taxes, and any interest or penalties) required to be paid by or with respect to
            the Settlement Funds; and (d) comply with any applicable information reporting or tax
            withholding requirements imposed by applicable law, in accordance with United States
            Treasury Regulation § 1.468B-2(l). Any such taxes, as well as all other costs incurred
            by the administrator in performing the obligations created by this subsection, shall be
            paid out of the Qualified Settlement Funds. Defendant shall have no responsibility or
            liability for paying such taxes and no responsibility to file tax returns with respect to the
            Qualified Settlement Funds or to comply with information-reporting or tax-withholding
            requirements with respect thereto. Defendant shall provide the administrator with the
            combined statement described in United States Treasury Regulation § 1.468B-
            3(e)(2)(ii).

       h. Following payment in full of the Settlement Amount, Plaintiff Administrator agrees to
          hold harmless and indemnify Defendants against any claims for attorneys’ fees related
          to the above-referenced action.

       i. The parties shall seek to facilitate the prompt transfer of funds by wire transfer.

       2.       The Plaintiff is directed to apply to the Circuit Court of Cook County, Illinois

County Department, Probate Division for an order of distribution of the net proceeds of the

settlement, pursuant to 755 ILCS 5/2-1.

       3.       This action is hereby dismissed with prejudice and without costs, including all

claims brought and that could have been brought. The Court will retain jurisdiction, but the

above-referenced action no longer remains pending.

SO ORDERED this ______ day of October, 2022
                                                                _____________________________
                                                                Hon. Frank P. Geraci
